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lN THE UNITED STATES DlSTRICT COURT FOR THE D.C,
WESTERN DlSTRlCT OF TENNESSEE, EASTERN DlVISl% AUG 29 P
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SHARON SANDS,
P|aintiff,
v. No. 12 03-1333 T-An

JACKSON STATE COM|V|UN|TY COLLEGE
and the TENNESSEE BOARD OF REGENTS,

JURY DEN|ANDED

-_/-._/‘-_./‘~_./'-__/‘-_¢‘-_¢'-../vv

Defendants

 

ORDER EXTEND|NG THE DEADL|NE TO COMPLETE DlSCOVERY

 

This matter is before the Court on the parties’ l\/lotion to Extend the Deadiine to
Comp|ete Discovery. The parties have requested that the Court extend the deadline for
completing discovery up to and including, Friday, September 30, 20051 to allow the parties
to complete the discovery depositions ot Jean Redding and Laurie VVeaver. By agreement
of the parties and for good cause shown1 it is hereby ORDERED, DECREED, and
ADJUDGED that:

The deadline for completing discovery be extended up to and including, l-"riday1

September 30, 2005.

ENTERED this the Z‘FEday of %l/'?/j; uo'l" 2005.

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UNlTED STATEs DlsTRlcT CouRT JuDGE

 

Thls document entered on the docket sheet in compliance
with Ftule 58 and/or 79 (a) FRCP on

Case 1:03-cv-01333-.]DT-STA Document 39 Filed 08/29/05 Page 2 of 3 PagelD 53

APPR VED:

  

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Ricl¥t'¢{§o D. BENNETT, BPR #13156

J. CHR|sToPHER DAvls, BPR#023590

LAw OFFlcEs oF MAlDEN & BENNETT
1155 Ha|le Park Circle, Suite 101
Co|lierville, Tennessee 38017
(901) 854-0777

By:

ATTORNEYS FOR PLAlNTlFl'-`

 

. “"'11* 196/mw
Senior Counse|, Civil L lgation and State Services Division l 005
Office of the Attorney General

P.O. Box 20207

Nashvil|e, TN 37202-0207

(615) 741-7087

ATToRNEYs FoR DEFENDANTS

r`)'A'STES DISTRICT OURT - WESTENR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 1:03-CV-01333 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Richard D. Bennett
MAIDEN & BENNETT
1155 Halle Park Cr.
Collierville, TN 38017

William J. Marett

STATE ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202--020

Honcrable J ames Tcdd
US DISTRICT COURT

